                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CIVIL CASE NO. 3:23-cv-00813-KDB-DCK

RUSSELL PFEFFER, DAVID DESSNER,           )
ADAM SHERMAN, FRANK CRONIN,               )
ROGER ROJAS, JASON AUERBACH,              )
GRACE BOZICK, MUHAMED VRLAKU,             )
and ALL OTHERS SIMILARLY SITUATED,        )
                                          )
      Plaintiffs,                         )
                                          )
      v.                                  )
                                          )
BANK OF AMERICA CORPORATION and           )
BANK OF AMERICA, N.A.,                    )
                                          )
      Defendants.                         )
__________________________________________)

                      DEFENDANTS’ MOTION FOR INTERLOCUTORY
                          APPEAL AND STAY PENDING APPEAL

          Pursuant to 28 U.S.C. § 1292(b), and as stated in the Memorandum of Law in Support of

this Motion, Defendants Bank of America Corporation and Bank of America, N.A., by counsel,

hereby move this Court to certify this Court’s July 26, 2024 Order granting conditional collective

certification (Doc. 49) for interlocutory appeal and to stay this action pending resolution of the

appeal.

          Pursuant to Local Rule 7.1(b), Defendants have conferred with Plaintiffs regarding this

relief and Plaintiffs do not consent.


Respectfully submitted, this the 2nd day of August 2024.



                                                      /s/ Meredith A. Pinson
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                                                     Attorneys for Defendants

                                CERTIFICATE OF SERVICE

        I hereby certify that on this 2nd day of August 2024 a copy of the foregoing was served by

electronic notification on all parties registered with this Court’s CM/ECF system to receive

notices for this case.


                                                     /s/ Meredith A. Pinson
                                                     Meredith A. Pinson (N.C. Bar No. 39990)




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